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                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

 D. JEANETTE FINICUM; THARA                      Case No. ____________
 TENNEY; TIERRA COLLIER; ROBERT
 FINICUM; TAWNY CRANE; ARIANNA
 BROWN; BRITTNEY BECK; MITCH                     CIVIL COMPLAINT
 FINICUM; THOMAS KINNE; CHALLICE
                                                 DEMAND FOR JURY TRIAL
 FINCH; JAMES FINICUM; DANIELLE
 FINICUM; TEAN FINICUM; and the
 ESTATE OF ROBERT LAVOY FINICUM.
         Plaintiffs,
 v.
 UNITED STATES OF AMERICA; FBI,
 BLM; DANIEL P. LOVE; SALVATORE
 LAURO; HARRY MASON REID; GREG T.
 BRETZING; W. JOSEPH ASTARITA;
 STATE OF OREGON; OREGON STATE
 POLICE; KATHERINE BROWN;
 RONALD LEE WYDEN; HARNEY
 COUNTY; DAVID M. WARD; STEVEN E.
 GRASTY; THE CENTER FOR
 BIOLOGICAL DIVERSITY; and JOHN
 DOES 1-100.
         Defendants.



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       Plaintiffs, D. Jeanette Finicum, Thara Tenney, Tierra Collier, Robert Finicum, Tawny

Crane, Arianna Brown, Brittney Beck, Mitch Finicum, Thomas Kinne, Challice Finch, James

Finicum, Danielle Finicum, Tean Finicum and the Estate of Robert LaVoy Finicum, by and

through undersigned counsel, individually and together allege in totality and in the alternative:

                                  STATEMENT OF THE CASE

   1. In November 2017, a widely published national news story caught the attention of the

American public, when video surfaced of a North Korean citizen attempting a desperate border

run for safety. The video showed that when the truck he was driving crashed on the side of the

road, the North Korean citizen was aggressively pursued by an armed North Korean government

force. He was shot five times, and collapsed. News reports showed that the man survived and

made it across the border, to a friendly government on the other side of the line. The story was

captivating, because in the American psyche, the idea of being shot in the back by your own

government for trying to cross a border – is unthinkable.

   2. Except, this action brings to the Court a poignant circumstance where this very scenario

played out inside the United States, a year and half before the North Korean defector made

national news, and it took place on a remote section of road in Harney County, Oregon.

   3. On January 26, 2016, at approximately 4:40 p.m., decedent Robert LaVoy Finicum was

fatally shot three times in the back, assassination style, by one or more militarized officers of the

Oregon State Police and/or FBI.

   4. LaVoy had plainly and repeatedly explained he was going to go across the county border,

to meet with Grant County Oregon Sherriff Glen Palmer, and invited several of the above-named

defendants to come with him. The problem was, Sherriff Palmer had already been identified by

several of the above-named defendants as an unfriendly political personality, and as being



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potentially uncooperative with what has now been discovered to be the illegal, diabolical and

shocking internal government scheme and conspiracy to do intentional violence to LaVoy

Finicum and other political supporters of Cliven Bundy and those who were visible public critics

of the BLM and federal government overreach.

   5. Unlike the North Korean who fled for the border to safety in 2017, after LaVoy Finicum

was shot in the back– he died. As it turns out, he was deliberately executed by a pre-planned

government ambush, after he had exited his vehicle with his hands up. Along an isolated section

of U.S. Route 395 in Harney County, Oregon, where the only other people within miles, were

those who had set-up the ambush, LaVoy Finicum was executed as he walked away from his

truck in the deep snow.

   6. The murder of LaVoy was plainly unlawful under rights guaranteed by the United States

Constitution and as also specified below, unlawful under other laws of the United States and the

laws of the State of Oregon. It was the result of a brutally deliberate course of action willfully set

in place and caused by a small selection of county, state and federal officials who are named as

defendants in this lawsuit. These defendants were mentally predisposed and committed to using

excessive lethal force, to solve a political dispute. The result has been both haunting and tragic.

   7. From the time LaVoy Finicum first became a government target in 2014 for his political

actions, through the incident on January 26, 2016, LaVoy had not engaged in a single act of

violence. The only violence that took place during that entire span of time, as it relates to

anything associated with LaVoy, was on January 26, 2016, and the violence was instigated,

aided, provoked, planned and carried out by the above-named defendants.

   8. Since the murder of LaVoy Finicum, it has been uncovered that the above-captioned

Defendants individually and together, were engaged in a pattern and practice of deliberate



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conduct, including willful and illegal conduct, which conduct was the cause-in-fact, proximate

cause and/or legal cause of the illegal shooting and death of LaVoy Finicum.

   9. It has also been uncovered that the above-captioned defendants participated directly with

and/or willfully aided and abetted a pattern of widespread and systemic corruption within

portions of the Federal Bureau of Investigation (“FBI”), the Department of the Interior, Office of

Law Enforcement and Security (“OLES”); and the Department of the Interior, Bureau of Land

Management (“BLM”), where state and federal employees engaged in the intentional

premeditated targeting of LaVoy Finicum and others (as described in more detail below),

because of 1) his association with Cliven Bundy and Bundy family members; 2) his membership

in the Church of Jesus Christ of Latter-day Saints; and 3) his political views and statements

regarding land rights and federal government overreach – specifically, his consistent political

activism and statements that were critical of the BLM.

   10. As an example of actions taken by the above-captioned defendants who participated

directly with and/or willfully aided and abetted the pattern of widespread and systemic

corruption within the FBI and Department of the Interior, each of the above-captioned

defendants willfully participated in the spreading of false and maliciously inaccurate

information, which information (including law enforcement threat assessments) was known to be

false and/or incomplete, and which information maliciously and falsely characterized LaVoy

Finicum and others, as a threat to law enforcement and served as an unjustified and pre-mediated

pretext that ultimately caused the tragic killing.

   11. Defendants Loretta Elizabeth Lynch, James Brien Comey Jr; Greg T. Bretzing, Katherine

Brown, David M. Ward and Steven E. Grasty exercised various degrees of supervision, control

and authority over the acts and actions that ultimately caused the unlawful execution of LaVoy



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Finicum, and these defendants not only tolerated known wrongdoings by government employees

within their supervision, control and authority, but also actively participated in the rampant

corruption which ultimately led to the untimely and unwarranted death of LaVoy Finicum.

   12. The lack of oversight and supervision, and these defendants’ disregard for the

constitutional rights of the public, resulted in the wrongdoings alleged herein, including the

unjustified shooting of LaVoy Finicum.

   13. Multiple federal agents, including but not limited to Department of Interior, OLES and

BLM Special Agent Larry “Clint” Wooten have recently disclosed information and documents

showing that the information and run-up to the unlawful shooting death of LaVoy Finicum on

January 26, 2016 was, in significant part, the result of a known internal conspiracy within the

Department of the Interior that targeted several men associated with Cliven Bundy and events

that had previously taken place in Bunkerville, Nevada in April 2014, and one of these targeted

individuals was LaVoy Finicum.

   14. Defendants Loretta Elizabeth Lynch, James Brien Comey Jr; Greg T. Bretzing, and Harry

Mason Reid and other John Doe defendants knew about the governmental misconduct referenced

above, including that Department of Interior agents were engaged in deliberate discrimination

and harassment targeting “supporters [of Cliven Bundy and other] Mormons (which targeting

included LaVoy Finicum).”

   15. At various times from April 2014 through the shooting death of LaVoy on January 2016,

defendants who were employees of the FBI, the BLM and OLES conspired with each other and

also acted individually in numerous acts to keep secret and cover up information and evidence

probative of the cause and evidence related to the unjustified killing of LaVoy Finicum.

   16. In addition to the above described conduct by the Defendants in this case, the Oregon



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State Police, Harney County, Harney County Sherriff David Ward and the FBI used and

employed improper police procedures and deliberately employed and carried out a plan without

adequate safeguards and communication that ultimately caused the shooting death of LaVoy.

   17. In the end, LaVoy Finicum suffered the unprovoked imposition of excessive and illegal

police force when 1) he and his truck were fired upon without provocation by the Oregon State

Police and/or the FBI at an initial traffic stop on January 26, 2016; 2) when an illegal and

unconstitutional “Deadman’s roadblock” was set-up prior to that traffic stop and subsequently

used against him after he demanded to see the Grant County, Oregon Sherriff; 3) when he

approached the roadblock and without provocation he and his vehicle were fired upon multiple

times with lethal force – by the Oregon State Police, the FBI and specifically by W. Joseph

Astarita; and 4) when he excited his vehicle after successfully swerving to miss a nearby officer

and the roadblock, with his hands in the air in a surrender position – and multiple, lethal shots

were fired at him by the Oregon State Police, the FBI and specifically by W. Joseph Astarita.

Finally, the Oregon State Police and the FBI illegally and unconstitutionally used deadly force

and caused the wrongful death of LaVoy Finicum by planning, conducting and carrying out the

January 26, 2016 events, and ultimately by firing upon and unlawfully executing an American

citizen who was seeking the protection of a county sheriff, from what we now know was an

internal, corrupt, and politically motivated governmental conspiracy.

   18. Since LaVoy’s tragic death, facts establishing the shocking internal government

misconduct and the detailed internal conspiracy among BLM, FBI and other government

officials has increasingly come to light. For example, the December 2016, Larry “Clint” Wooten

whistle blower report documents an internal government investigation that uncovered “a

widespread pattern of bad judgment, lack of discipline, incredible bias, unprofessionalism and



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misconduct, as well as likely policy, ethical and legal violations among senior and supervisory

staff” involved in the official investigation and anticipated prosecution of LaVoy and others

associated with events that took place in Bunkerville, NV in April 2014. That investigation

concluded that law enforcement supervisors, including the John Doe defendants named in this

matter, “made a mockery of our position of special trust and confidence, portrayed extreme

unprofessional bias…[and] ignored the letter and intent of the law.” The internal investigation

also revealed that prominent Department of Justice employees (identified in this complaint

currently as John Does), maliciously influenced events both proceeding and following the death

of LaVoy Finicum, through “extreme personal and religious bias” and that when law

enforcement agents had been observed to have engaged in “unethical/unprofessional actions,

misconduct, and potential crimes” were deliberately not reported up the chain of command.

   19. Finally, Defendant W. Joseph Astarita, who was a Special Agent of the FBI and member

of the FBI’s Hostage Rescue Team has been federally indicted for his role in covering up

activities and events that took place at the side of U.S. Route 395 in Harney County, Oregon on

January 26, 2016.

   20. Specifically, a federal grand jury has charged Defendant Astarita with lying to

investigators, making knowingly and willfully false statements, knowing that the false statements

were material to the FBI’s decision not to call the Shooting Incident Response team to

investigate the propriety of an agent-involved shooting. Defendant Astarita falsely stated that he

had not fired his weapon at LaVoy Finicum, when he knew then and there that he had fired his

weapon. He has also been charged with obstruction of justice, for engaging in misleading

conduct towards another person, that is, the officers of the Oregon State Police, by failing to

disclose that he had fired two rounds during the January 26, 2017, roadblock incident with



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LaVoy Finicum. The grand jury has further charged Defendant Astarita with intent to hinder,

delay and prevent the communication of information from the Oregon State Police to the Federal

Bureau of Investigation related to the possible commission of a federal offense.

    21. This lawsuit is brought to obtain relief for LaVoy’s surviving heirs, and to ensure that the

idea of being shot in the back, by your own government, while trying to cross a county border for

protection by bona-fide law enforcement, can return to being what it once was - unthinkable.


                                             PARTIES

    22. Robert LaVoy Finicum’s legal heirs are his wife and children who survived him after his

brutal killing.

    23. At all times herein mentioned, Plaintiff D. Jeanette Finicum (“Jeanette Finicum”) was

the wife of LaVoy Finicum and direct heir to her husband.

    24. At all times herein mentioned, Plaintiffs Thara Tenney, Tierra Collier, Robert

Finicum, Tawny Crane; Arianna Brown, Brittney Beck, Mitch Finicum, Thomas Kinne,

Challice Finch, James Finicum, Danielle Finicum and Tean Finicum were the children of

LaVoy Finicum and direct heirs to their father.

    25. Plaintiffs are the heirs, and D. Jeanette Finicum is also the personal representative of the

estate of Robert LaVoy Finicum pursuant to relevant state and federal law.

    26. At all times herein mentioned, Defendant UNITED STATES OF AMERICA (“United

States”) is a proper defendant pursuant to the Federal Tort Claims Act, 28 U.S.C. § 2671 et seq.

and pursuant to the other basis for the causes of action listed below, and was at all times material

hereto, the employer of Defendants Loretta Elizabeth Lynch, James Brien Comey Jr., Greg T.

Bretzing, W. Joseph Astarita and other John Doe defendants to be identified. Timely notice was

given of the claims pursued herein, to the United States, pursuant to relevant United States law


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and relevant administrative rules.

   27. At all times herein mentioned, Defendant FEDERAL BUREAU OF

INVESTIGATION was a public body and acting arm of the United States through the United

States Department of Justice, whose highest federal officials included Loretta Elizabeth Lynch

(United States Attorney General) and James Brien Comey (Director of the FBI).

   28. At all times herein mentioned, Defendant BUREAU OF LAND MANAGEMENT was

a public body and acting arm of the United States Department of the Interior.

   29. At all times material hereto, Defendant Daniel P. Love was an agent of the United States

Department of Interior, specifically the Bureau of Land Management, and was acting under the

color of law and within the scope of his employment.

   30. At all times material hereto, Defendant Salvatore Lauro was an agent of the United

States Department of Interior, specifically the Bureau of Land Management Office of Law

Enforcement Services (“OLES”) Director, and was acting under the color of law and within the

scope of his employement.

   31. At all times material hereto, Defendant Harry Mason Reid was a United States Senator

from Nevada. For purposes of the Westfall Act, Mr. Reid is sued here for actions committed

within the scope of his office or employment as a U.S. Senator.

   32. At all times material hereto, Defendant Greg T. Bretzing was an agent of the United

States Federal Bureau of Investigation acting under the color of law, and within the scope of his

employment.

   33. At all times material hereto, Defendant W. Joseph Astarita was an agent of the United

States Federal Bureau of Investigation acting under color of law and within the scope of his

employment.



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   34. At all times herein mentioned, Defendant STATE OF OREGON (“State of Oregon” or

“Oregon”) is a proper defendant pursuant to Oregon Revised Statute 2015 ORS 30.265 and other

relevant Oregon laws as a “public body” subject to “civil action” and was at all times material

hereto the supervisor, employer or controlling entity of the Oregon State Police, Katherine

Brown, and other Oregon State Police officers included as John Doe defendants to be identified.

Notice of the relevant claims contained herein was timely and properly given to the State of

Oregon.

   35. At all times herein mentioned, Defendant OREGON STATE POLICE (“OSP”) is the

time and title used to refer collectively to the individual Oregon State Police officers involved

and described herein, and each OSP officer was at all relevant times herein an agent of the State

of Oregon acting within the scope of his employment.

   36. At all times material hereto, Defendant Katherine Brown was the Governor of Oregon,

and an officer or agent of the State of Oregon, acting within the scope of her office or

employment.

   37. At all times material hereto, Defendant Ronald Lee Wyden was a United States Senator

from Oregon. For purposes of the Westfall Act, Mr. Wyden is sued here for actions committed

within the scope of his office or employment as a U.S. Senator.

   38. At all times material hereto, Defendant Harney County is the public body organized

and existing under the laws of the State of Oregon. Notice of this claim was timely and properly

given to Harney County.

   39. At all times material hereto, Defendant David M. Ward was a resident of the State of

Oregon, and the Sherriff of Harney County, acting under color of state law and within the scope

of his office or employment.



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   40. At all times material hereto, Defendant Steven E. Grasty was a resident of the State of

Oregon, and Harney County Judge, acting under color of state law and within the scope of his

office or employment.

   41. At all times material hereto, Defendant The Center for Biological Diversity was a

national non-profit conservation organization headquartered in Tucson, Arizona and acting

through directors and executive officers.

   42. At all times material hereto, Defendants John Does 1-100, were agents of the United

States or the State of Oregon and acting under color of law and within the scope of his or her

employment. These defendants are sued herein under fictitious names. Their true names and

capacities are unknown to Plaintiffs at this time. When their true names and capacities are

ascertained, Plaintiffs will amend this complaint by inserting their true names and capacities

herein. Plaintiffs are informed and believe and thereupon allege that each of the fictitiously

named Defendants is responsible in some manner for the occurrences herein alleged, and that

Plaintiff’ damages as herein alleged were proximately caused by those Defendants. Each

reference in this complaint to “Defendant,” “Defendants,” or a specifically named Defendant

refers to all Defendants sued under fictitious names.

   43. Plaintiffs are informed and believe and thereupon allege that at all times herein

mentioned, each of the Defendants, including all Defendants sued under fictitious names,

was/were the agent and employee of either the United States, the State of Oregon, or Harney

County and in doing the things hereinafter alleged, was/were acting within the scope of the

relevant entity and/or his or her employment.

                                        JURISDICTION

   44. Claims in this action arise under the Fourth, Fifth and Fourteenth Amendments of the

United States Constitution and 42 U.S.C. § 1983. Further, this Complaint raises civil rights

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claims against individual federal employees and officers pursuant to Bivens v. Six Unknown Fed.

Narcotics Agents, 403 U.S. 388 (1971). The Court therefore has jurisdiction over this action

pursuant to 28 U.S.C. § 1331 [federal question] and 28 U.S.C. § 1343(3) [civil rights] and 28

U.S.C. § 2671 [federal tort claims]. The Court has supplemental jurisdiction over Plaintiffs’ state

law claims under 28 U.S.C. § 1367(a) because the 42 U.S.C. § 1983 violations, the Bivens tort

claims, and tort liability for the state law claims arise from a common nucleus of operative facts.

   45. Venue lies in the District of Oregon, the judicial district in which the claim arose,

pursuant to 28 U.S.C. Section 1391(b)(2) and 1391(e)(1).

   46. Plaintiffs do not agree to the applicability or constitutionality of limits on liability or

other provisions of the Oregon Tort Claims Act and reserves the right to name additional

individual defendants as warranted by law or fact and to challenge any limits on liability set on

any of the causes of action listed below.

   47. Plaintiffs have complied with all applicable notice and statutory requirements of both the

Oregon and federal Tort Claims Acts.


                  STATEMENT OF COMMON FACTS - BUNKERVILLE

   48. On the morning of April 12, 2014, LaVoy Finicum was present in Bunkerville, Nevada as

part of a political protest against a purported BLM cattle impound operation and other

government overreach, in support of Nevada Rancher Cliven Bundy and his family, who had

been targeted for violence by the BLM and the FBI.

   49. In fact, LaVoy had learned that in the two-weeks leading up to April 12, 2014, special

agents with the BLM and FBI had targeted Bundy, had surrounded Bundy’s house with

militarized and armed government snipers and surveillance and had violently engaged two of

Cliven Bundy’s sons and had threatened violence against other members of his family.


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   50. LaVoy had learned either the night before or early in the morning on April 12, that the

leadership of the BLM and Department of Interior in Washington D.C., had agreed to suspend

the operation in Bunkerville, and had announced that it was going to be leaving the area and

surrendering the Bundy cattle that had already been gathered.

   51. When LaVoy and other volunteers peacefully gathered near the cattle impound area, they

and the public discovered that a faction of the BLM and other government employees engaged in

the Bunkerville operation had taken up an aggressive, military style posture and were refusing to

leave or surrender the cattle.

   52. As it turns out, this same faction of government agents, operating under the direction and

authority of Defendant Dan Love, were involved in fabricating misleading evidence against

Cliven Bundy, had been involved in intentionally seeking to provoke a violent confrontation with

Bundy and his supports, and had intentionally created misleading threat assessment documents,

and knowingly disseminated false and misleading information to other federal agents and local

law enforcement officers about Bundy and his supporters, including LaVoy Finicum.

   53. It is now known that the government’s own internal investigation discovered that

Defendant Love acted “recklessly” but with the specific direction of a John Doe defendant

named above, upon information and belief the BLM Deputy Director” to “set in motion a chain

of events that nearly resulted in an American tragedy with mass loss of life.” Further, the

government’s lead internal investigator concluded “reckless and unprofessional conduct with

BLM Law Enforcement supervisory staff was apparently widespread, widely known” and

covered- up, and that other government employees were “either too afraid of retaliation, or

lacked the character to report and/or correct” the misconduct.

   54. Mr. Finicum saw first-hand, while he was at Bunkerville, that the conflict between



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peaceful political protestors and rogue overreaching federal agents, was resolved when the local

Sherriff’s department intervened, and when the local Sherriff’s actions caused the rogue

government agents to back down and to disband.

   55. In fact, when the local Clark County Sherriff’s office arrived on sight in Bunkerville, on

April 14, 2014, several BLM and other federal agents saw the Sherriff department as hostile and

aligned with the protesters.

   56. Law enforcement records show that the Sheriffs’ office also brought in its own SWAT

Team, with its own snipers and other strategically placed personnel who set up counter positions

- with the protesters, taking up strategic positions against the federal agents, pointing their guns

(that is the Sherriff’s SWAT snipers were pointing their guns) at the rogue federal agents – and

not at the protestors. This sent a clear message regarding the untenable position and conduct of

the federal agents – who had previously been threatening over a loud speaker to shoot protesters.

   57. Mr. Finicum further saw that with the intervention of several Clark County Nevada

Sherriff deputies, the threat to protestors, bystanders and the observing public was dissipated,

and resolved. He also saw that Defendant Love retreated and released the Bundy cattle and

removed all of the federal officers and staff from the Bunkerville operation. Mr. Finicum also

witnessed that all harm and potential violence had been avoided.

   58. It is now known, that from the evening of April 13, 2014, through at least mid-day on

April 14, 2014, Defendant Love had instructed officers under his command – including several

John Doe defendants, to systematically destroy documents and information, including a massive

shredding operation to hide or conceal information prior to abandoning the operation. It is also

known that Defendant Love had been on multiple phone conversations with DOJ, DOI and BLM

leaders in Washington D.C., with Defendant Harry Reid, and with local DOJ officials –



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expressing his vehement disagreement with their decisions, and that the operational notebook

where he claimed to keep records of these conversations and several laptop computers that he

used in the course of his duties, have allegedly disappeared form the government’s custody and

control.

   59. Based upon the government’s subsequent investigation, it is now known that “there was

an improper cover-up in virtually every matter” that Defendant Love participated in, including

Bunkerville and the post-Bunkerville targeting of individuals including LaVoy Finicum.

   60. It is also known that the government’s internal investigation of Defendant Love and other

John Doe defendants after April 2014 revealed that they had intentionally planned and carried

out the “most intrusive, oppressive, large scale and militaristic” operation as possible, and that it

was Defendant Love and John Doe defendants purpose and intention to engage Cliven Bundy

and his supporters (including LaVoy Finicum) in a manner that constituted “excessive use of

force, civil rights and policy violations.”

   61. During the Bunkerville events of 2014, Mr. Finicum was identified (among many others)

by Defendant Love and other John Doe defendants, as a target of their activities, and specifically

as a target for using violence, meaning Defendant Love and other John Doe defendants

intentionally planned to use violence against LaVoy Finicum and others.

   62. This illicit targeting of LaVoy Fincium and others who Defendant Love and John Doe

defendants viewed as hostile to the BLM and critical of the BLM and DOI, began on April 14,

2014 and continued through January 2016. In furtherance of this targeting, both the BLM and the

FBI kept an active file on Mr. Finicum.

   63. Defendant Love and other John Doe defendants fabricated information, edited, omitted or

reported misleading information from this file, and added misleading information to this file, for



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the purpose of intentionally creating the false impression that LaVoy Finicum was associated

with militia and presented a risk of violence to law enforcement, when no threat assessment or

legitimate intelligence information supported any such finding or conclusion.

   64. In fact, except for the information tainted by the misconduct of Defendant Love and other

John Doe defendants, there was no information prior to January 2016 to indicate that LaVoy

Fincium constituted a threat or posed the possibility of violent confrontation with anyone – let

alone federal agents or officers.

   65. Further, Defendant Love and several John Doe defendants (including agents within the

BLM and the FBI) knowingly concocted a deceptive narrative through the use of false,

fabricated and falsely reported information, that LaVoy Finicum and others who were present in

Bunkerville and critical of the BLM and DOI (such as Ammon Bundy, Ryan Bundy) were anti-

government domestic terrorists. These agents knew this information and narrative was false and

knew that by labeling Mr. Finicum as this kind of threat, that they had violated government

policy, governmental guidelines, and that they were violating the constitutional protected due

process and Fourth Amendment related rights of Mr. Finicum.

   66. Following the Bunkerville events in 2014 and continuing through January 2016, Mr.

Finicum began a YouTube channel where he periodically published educational videos

explaining his political views, his views on the US Constitution, and where he described how he

viewed the federal government as acting beyond its lawful limits imposed by the Constitution

and by federal law.

   67. In Mr. Finicum’s YouTube videos he was also particularly critical of the Department of

the Interior and the BLM.

   68. From April 2014 through January 2016, Mr. Finicum also continued operating his own



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cattle ranch and cattle operation which he purchased in 2008, and which included the grazing of

cattle in Mohave County, Arizona and in Kane County, Utah.

   69. From April 2014 through February 2017, the BLM and the FBI conducted an extensive

investigation of what had transpired in Bunkerville, NV, regarding both the lead up to and the

events that took place on April 2014. This investigation generated a substantial amount of law

enforcement data, information and intelligence within the FBI and BLM, including information

on and about LaVoy Finicum.

   70. The data, information and intelligence generated by the investigation, included significant

and substantial material generated by, edited, amended and/or derived from deliberate acts of

Defendant Dan Love and other John Doe defendants.

   71. Defendant Love and John Doe defendants deliberately engaged in this conduct, in part, to

concoct a deceptive narrative of what happened at Bunkerville, and to paint Cliven Bundy,

LaVoy Finicum, Ammon Bundy, Ryan Bundy and others, in a false light with the media, the

public, and in any future court actions. The intended false light was that these men, including

specifically LaVoy Finicum, presented a threat to federal agents and to the public.

   72. Defendant Love and these John Doe defendants knew this information and the narrative

they had created about Bunkerville was false and knew that in labeling Mr. Finicum and others

in this way, violated government policy, governmental guidelines, and that it violated the

Constitutional due process rights of Mr. Finicum and the other citizens involved.

   73. Without any warrant, and without any probable cause to believe he had committed any

crime, after April 2014 and through January 2016, at various times, Defendant Love and other

John Doe defendants monitored and tracked LaVoy Finicum’s YouTube videos and related

activities online. Additionally, other John Doe defendants, including FBI agents and informants



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acting under the direction of John Doe defendants; monitored, surveilled and surreptitiously

entered into Mr. Finicum’s home – without his knowledge or consent.

   74. DOI BLM Special Agent Larry C. “Chuck” Wooten, who lead the post-Bunkerville

investigation for the Department of the Interior and the BLM (including OLES), recently

revealed that Defendant Love and John Doe defendants intentionally covered up or otherwise

intentionally failed to disclose “substantive and exculpatory” information that contradicted the

narrative created about Bunkerville, Cliven Bundy, and other critics of the federal government

such as LaVoy Finicum. Mr. Wooten’s investigation also concluded that other DOJ personnel

(including John Doe defendants) became aware of the rogue faction of government agents

operating under and/or in concert with Defendant Love and also became “generally aware” of the

misconduct described herein, including “likely civil rights and excessive force issues” and in

response the DOJ adopted a “don’t ask, don’t tell” mentality and approach – and these same

federal employees who held high level and supervisor positions over this subject matter

intentionally “discouraged the reporting” of misconduct and further discouraged the reporting of

“evidence favorable to” Cliven Bundy and his supporters.

   75. The government’s internal investigation has also now revealed that the “talking points”

used by the DOJ to describe what happened in Bunkerville in 2014 were “factually incorrect”

and that John Doe defendants knew of the incorrect information and intentionally failed to take

actions to make corrections. Further, the government’s internal investigation concluded that the

Bundy “impound” operation was largely a ruse, that the government’s official explanation about

Bunkerville, Bundy and his followers was the result of “cover-ups”, “half-truths” and “skewed

narrative”, and that Bunkerville was in-fact a rogue operation full of widespread governmental

wrongdoing from beginning to end, and characterized the whole matter as “a punitive and ego



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driven expedition” – rather than a legitimate operation of the federal government.

   76. The government’s investigation also concluded that the truth about what had happened in

the run up to the Bunkerville operation, the events of April 2014, and the post-Bunkerville

investigation “would shock the conscious of the public and greatly embarrass” the federal

government if disclosed.

   77. Nevertheless, this false and misleading information, this history of widespread

misconduct, and the deliberate activities and actions taken by Defendant Love and the other

above-named defendants, contributed directly to the subsequent shooting death of LaVoy

Finicum in January 2016.


             STATEMENT OF COMMON FACTS – HARNEY COUNTY, OR

   78. In November 2015, Cliven Bundy’s son Ammon Bundy traveled to Harney County,

Oregon to meet with Dwight and Steven Hammond and their family. A brief background is

important to understand the relevance of this trip and subsequent events, which culminated in the

shooting death of LaVoy Finicum.

   79. The purpose of Ammon Bundy’s meeting was related to the events in Bunkerville back in

April 2014. Specifically, at the protest in Bunkerville in 2014, when the protestors successfully

rallied public interest, media interest, and the aid of the local Sherriff, they were able to correct

the situation where a rogue band of otherwise unaccountable federal agents were engaged in

dramatic and illegal overreach. As such, individuals involved at Bunkerville, such as Ammon

Bundy, who observed those events first hand, believed that they could use that knowledge and

experience to help other individuals and families who were also being unlawfully and unfairly

targeted and abused by the BLM and other federal agencies.

   80. In November 2016, the story of Oregon ranchers Dwight and Steven Hammond had been


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circulating across the national news and social media. On June 21, 2012, the Hammonds were

convicted of felony charges for arson on public land after a long and public dispute with the

federal government.

   81. At sentencing, the Hammond’s federal district court judge declined to apply the five-year

mandatory minimum sentence, after finding it “grossly disproportionate to the severity of the

offense” and also a “violation of the Eight Amendment.” See 10/30/2012 Sentencing Hrg. at

26:3–6, United States v. Hammond, et al, Case No. 6:10–cr–60066–HO.

   82. On February 7, 2014, after both Hammonds had completed their sentences from the

above case, the Ninth Circuit Court of Appeals concluded that the district court erred in not

applying the mandatory five year minimum sentence and in October 2015, the district court

resentenced the Hammonds and they were required to go back to federal prison for the remainder

of 5 year sentences, and were scheduled to self-surrender on January 4, 2016.

   83. Beginning in approximately October 2015, and continuing through December 2015, local

residents and others citizens began arriving in Harney County, Oregon from across the United

States – to protest the treatment of the Hammonds. Protesters also spoke out against the general

treatment of ranchers and the ranching community, as well as other types of misconduct and

overreach by the federal government generally.

   84. In November 2015, modeled after actions taken by protesters in Bunkerville in 2014,

several thousand people and several concerned organizations signed a “NOTICE: Redress of

Grievance,” raising issues that the Hammond case brought to the surface. The notice was sent to

Harney County Sheriff, Defendant David Ward. The notice was also sent to the Harney County

Commissioners and Defendant Steven E. Grasty; local Justice of the Peace Donna Thomas, local

District Attorney Tim Colahan, Oregon Attorney General Ellen Rosenblum, and Oregon



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Governor, defendant Kate Brown.1 Signers included the Bundy family, and eleven other entities

and organizations.

    85. On November 20, 2015, Defendant Ward (the Harney County Sherriff) published a letter

replying to the “huge response from American citizens” that his office was receiving regarding

the Hammond case.

    86. By December 30, 2015, media sources were reporting how local citizens had begun

forming organizations and joining the protests, and growing concerns about civil unrest in

Harney County due to the lack of meaningful response from government officials.

    87. In response, Acting United States Attorney Billy J. Williams published a letter “To The

Citizens of Harney County, Oregon,” stating his “respect” for the rights of these “outside

individuals and organizations” to “peacefully disagree with the prison terms imposed” on the

Hammonds, but explained that no injustice was occurring.2

    88. LaVoy Finicum was not, and never became, a member of any of the above-referenced

political organizations and was not, and never became, a member of any militia group. In fact, at

this point in time LaVoy Finicum was not in Oregon and had no plans to be involved.

    89. As of December 2015, both Ammon Bundy and LaVoy Finicum had used their

experience at Bunkerville to educate the public, to advocate their political ideas and to spread the

message of responsible citizen activism against federal government overreach. LaVoy had

written and published a book on June 20, 2015, and had been conducting small group

symposiums on the principles of freedom, and in particular related to western land issues.




1
  See https://www.oathkeepers.org/a-new-resolution-put-out-by-ammond-bundy-concerning-the-
hammond-family/ (last visited Apr 18, 2016).
2
  See Billy J. Williams, “To the Citizens of Harney County, Oregon,” available at https://www.
documentcloud.org/documents/2660399-Statement-USattorney.html (last visited Apr 18, 2016).

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Ammon Bundy had similarly increased his civic profile, volunteering his time giving seminars in

different public forums – elementary schools, cottage meetings, and other public gatherings – on

the importance of adhering to the structure of the Constitution to resolve political disagreements

and on specific land rights issues.

   90. By late December 2015, Ammon had met with several government officials in Oregon,

including multiple meetings with the local sheriff, Defendant Ward, to try and find a way to

protect the Hammonds from further injustice. He was also sharing his observations and judgment

to local, county, state and national government leaders that they should do more to acknowledge

citizen concerns and that they were not being productive or effective in how they were engaging

those citizens who were expressing their disagreements with those leaders.

   91. On January 1, 2016, LaVoy received a phone call from Ammon’s brother Ryan

explaining that large groups of protesters in Harney County, Oregon had planned a protest

parade and a show of support and love for the Hammonds and their family. Later that day,

LaVoy Finicum traveled with Ryan Bundy and others, more than 700 miles to Burns, OR, so that

they could participate in the planned parade and show of support for the Hammonds.

   92. What LaVoy, Ryan, and Ammon did not know, is that the BLM and FBI had been

monitoring the social media posts of each of them, and had also been monitoring events in

Harney County, Oregon. As part of this monitoring, BLM and FBI leadership in Oregon had

been coordinating with John Doe defendants and had received the misleading information and

individual profiles put together or modified by Defendant Love and other John Doe defendants,

after Bunkerville.

   93. Further, by this time, the FBI and BLM leadership had used the information and

assistance of John Doe defendants, including the misleading and false information created after



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Bunkerville, to enlist the support and cooperation of Defendant Greg T. Bretzing, Defendant

Katherine Brown, Defendant Harney County, Defendant David M. Ward, Defendant Steven E.

Grasty and other John Doe defendants.

   94. Prior to January 1, 2016, John Doe defendants, with the assistance of Defendant Greg T.

Bretzing, Katherine Brown, Defendant David M. Ward and Defendant Steven E. Grasty

distributed the false and misleading information and profiles, including false and misleading

information about LaVoy Finicum, to other influential government decision makers in and

around Harney County.

   95. As a result of the false and misleading information being spread by the defendants in this

matter, local, state and federal law enforcement created specific plans and operational objectives

– which plans and objectives were crafted in specific and particular ways to address the false

conclusions and false narrative advanced by Defendant Love and now being advanced by

Defendant Bretzing, Defendant Ward, Defendant Grasty, and Defendant Katherine Brown.

   96. On January 2, 2016, most of the previously unorganized protesters in Harney County

participated in a parade and show of support for the Hammonds.

   97. In the late morning or early afternoon on January 2, 2016, Ammon Bundy organized a

small group of protestors who had been participating in the parade and public protest, and

proposed an idea that was designed to increase public awareness of the Hammond’s plight,

increase political pressure on government officials to address related injustices being perpetuated

in Harney County, Oregon by the BLM and other federal agencies, and that would remove the

bulk of activity from the center of Burns, Oregon so that the protest would be less disruptive to

the average local citizens and businesses. Specifically, Ammon proposed the protest be

organized and removed from the town, to the more remote location of the Malhuer National



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Wildlife Refuge (approximately 30 miles out of town). The Refuge had played a central role in

the Hammonds’ controversy and it was also central to several of the other political disputes in

and around Harney County, particularly related to federal government overreach and abuses by

the BLM.

   98. LaVoy Finicum had no advance knowledge or awareness of Ammon Bundy’s plan, and

had arrived in Burns, Oregon on January 2, 2016 planning only to participate in the parade and

show of support for the Hammonds.

   99. In sharing his idea initially, Ammon Bundy asked a small group of individuals to meet

with him, and this included one of the local Harney County deputy sheriffs, who openly attended

the meeting.

   100.        As it turned out, approximately two dozen individuals attended, including LaVoy

Finicum and Ryan Bundy.

   101.        At this January 2, 2016 meeting, Ammon proposed there should be an organized

and focused expansion of the protest, and that the effort should be principled, non-violent, and

lawful. During the course of the meeting he ultimately proposed a specific plan based upon his

opinion, understanding and good faith belief in the principles of lawful adverse possession.

Specifically, Ammon proposed that since the Refuge was empty for the holiday, that the

protesters undertake an earnest, legitimate and lawful effort to stake and adverse possession

claim to the Refuge, which effort should trigger a legal battle where the BLM and other related

government agencies would have to prove the lawfulness and legal authority of their activities

which had been based out at the Refuge for more than a generation.

   102.        Mr. Bundy and several others present at the meeting had learned that the Refuge

was currently unoccupied and that no government employees or officers were present.



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Accordingly, he encouraged the organization of a responsible group of individuals who would

travel in advance to the Refuge, verify that it was unoccupied and commence setting up the

necessary requirements for a lawful attempt to establish a lawful claim for adverse possession.

   103.        The idea expressed by Ammon Bundy, and agreed to by participating protestors

like LaVoy Finicum, was that among other grounds in support of their protest action, there was a

legitimate property law basis for attempting an adverse possession, and that because this was

permitted by both state and federal law, it could also be used as a viable method of political

protest, and if successful, the occupiers of the Refuge would assist Harney County and its

residents in furthering legitimate and lawful aims related to the land they would occupy, and, if

unsuccessful, the attempt to establish a lawful adverse possession claim would still focus the

protest message, generate necessary media attention, and stimulate a broader national discussion

of land use issues and the problem of federal overreach, including questions raised regarding

Article I, Section 8, Clause 17 of the U.S. Constitution.

   104.        One of the goals of the protest and adverse possession occupation was to acquire

legal standing – to bring the question of federal land overreach to the federal courts’ attention or

to require the federal government to make solid and legitimate argument in support of its claim

of ownership of the Refuge land – and with that newly acquired standing, open up a legal forum

to raise the growing demands for redress on important land and property rights issues.

   105.        As part of the execution of his idea, Ammon Bundy tried to ensure that the effort

to establish a lawful adverse possession claim was legitimate, taking reasonable precautions to

ensure that the disseizors (the occupiers) could protect themselves and the property against any

unlawful force (which is required by adverse possession law) and that any activities related to

that protection if their occupation were orderly and supervised by responsible people who



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possessed the necessary real life experience to responsibly initiate the adverse possession claim.

All this was planned in general accord with what the occupiers believed and understood as long

established principles of adverse possession law.

   106.        LaVoy Finicum was one of those who agreed to head out to the Refuge and see if

it was going to be possible to set-up a lawful adverse possession claim and related occupation of

the Refuge grounds. Upon arriving at the Refuge, LaVoy and others began the process of

formally staking a claim, under the principles of law applicable to state and federal adverse

possession.

   107.        As part of this adverse possession, the protestors changed the name of the Refuge

to the Harney County Resource Center (the adverse possession was being undertaking in the

interests of the residents of Harney County, Oregon), they published new signs, changed

responsibility for the payment of utilities and services, and took other specific steps the they

understood were required by law to establish the legitimate control and use of the Refuge

property, as outlined in standard adverse possession law treatises.

   108.        As part of the organized protest, Ammon and LaVoy become the most visible

spokesmen for the adverse possession occupation and related protest. They continued to

organize, spread their message, invite people to the new Harney County Resource Center, and

otherwise work to expand the legitimate use of adverse possession and other lawful methods to

investigate and establish other claims throughout the area.

   109.        As they understood the relevant law, the occupation of the Refuge was open,

hostile and notorious (these are all specific requirements the protesters understood were the legal




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requirements for a legitimate adverse possession claim.)3 At the outset of the occupation, the

occupiers also established appropriate caretaker responsibilities including securing the

previously vacated property, setting up a perimeter watch, and controlling ingress and egress.

They named themselves Citizens for Constitutional Freedom, publicly announced the

formation of their association and began publishing material and press statements online in that

name from January 2, 2016, through January 26, 2016, under that name.

    110.        From January 2 to January 26, 2016, it is estimated that more than 1,000

individuals, including businessmen, ranchers, political protestors, elected officials from different

branches of state executives and legislatures, attorneys, and federal government employees – all



3
  See e.g. Robin v. Brown, 162 A. 161, 161 (1932). In order to exercise a legitimate adverse
possession claim, “[t]he disseisor must unfurl his flag on the land, and keep it flying, so that the
owner may see, if he will, that an enemy has invaded his domains, and planted the standard of
conquest. He must intend to hold the land for himself, and that intention must be made manifest
by his acts. It is the intention that guides the entry and fixes its character. No particular act, or
series of acts, is necessary to demonstrate an intention to claim ownership. Such a purpose is
sufficiently shown where one goes upon the land and uses it openly and notoriously, as owners
of similar lands use their property, to the exclusion of the true owner.” Further, in Springer v.
Young, Justice Strahan explains: “An adverse possession cannot begin until there has been a
disseizin; and, to constitute a disseizin, there must be an actual expulsion of the true owner for
the full period prescribed by the statute. An adverse possession is aptly defined by INGERSOLL,
J., in Bryan v. Atwater, 5 Day, 181, to be “a possession, not under the legal proprietor, but
entered into without his consent either directly or indirectly given. It is a possession by which he
is disseized and ousted of the lands so possessed.” It should, therefore, come as no surprise to
anyone, let alone the government or this court that the Refuge occupation involved “an ouster”
and “a disseisin” and such actions are hardly new or un-established legal theories, and do not
suggest that the character or trustworthiness of those who seek to setup a lawful adverse
possession claim, is lacking. To the contrary, the specific steps and lengths to which these
occupiers endeavored, including the establishment of a perimeter, the changing of the sign and
renaming of the facility, the taking over of routine maintenance and cleaning, and the managing
and control of the of the property, all show that this was no random or spontaneous act of
dangerousness or recklessness, but a careful attempt at exercising a lawful right – including
under federal statute. As the Texas Court of Appeals recently instructed, “No matter how
exclusive and hostile to the true owner the possession may be in appearance, it cannot be adverse
unless accompanied by intent on the part of the occupant to make it so. There must be an
intention to claim the property as one's own to the exclusion of all others.” NAC Tex Hotel Co. v.
Greak, No. 12-14-00260-CV, 2015 WL 7019738, at *3 (Tex. App. Nov. 12, 2015).

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came and went from the Refuge, without interference from the local, state or federal government,

and there was no legal notice or arrest.

    111.        As part of their role in controlling ingress and egress to establish the attempted

claim of adverse possession, the Refuge occupiers (including Mr. Finicum) happily welcomed

visitors – of all kinds. The leaders of the occupation regularly attended meetings in and around

Burns, Oregon – making no secret of their travels, and on multiple occasions seeking meetings

with local, state and federal law enforcement officials. There was nothing surreptitious or

stealthy about the adverse possession of the Refuge.

    112.        However, Defendants Greg T. Bretzing, Katherine Brown, Ronald Lee Wyden,

David M. Ward, Steven E. Grasty and other John Doe defendants worked intentionally and

deliberately to control the official narrative, and never once publically admitted the true nature of

the occupation as an attempted lawful adverse possession, and never once candidly explained to

the public that the normal legal remedy against an adverse possession claimant was formal notice

and possible trespass charges. Further, these defendants ignored legal advice and counsel that

suggested that the appropriate course of action would be legal notice and possible trespass charge

– by local law enforcement and local civil court actions. These same defendants also ignored

advice from local legal authorities, that no law had been broken by the attempted adverse

possession.4

    113.        Instead, Defendants Katherine Brown, Greg T. Bretzing, Ronald Lee Wyden,



4
  See, for example, In re Timmons, 607 F.2d 120, 122 (5th Cir. 1979). This case is the only other
identifiable situation where a group of political protesters took over a federal wildlife refuge,
claiming to exercise adverse possession. Significantly, the government in that case did not call
for militarizing the surrounding community, calling in federal law enforcement or solving the
situation through force, but instead local prosecutors and local law enforcement went out and
met with the occupiers and gave them a simple trespass notice. This ultimately resolved the
protest and adverse possession claim without violence.

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David M. Ward, Steven E. Grasty and other John Doe defendants willfully decided to fight a

public political battle, and demanded that the FBI, BLM, and DOJ take the lead and bring the

occupation to a close by force.

   114.        As part of their agenda, Defendants Katherine Brown, Ronald Lee Wyden, David

M. Ward, Steven E. Grasty and other John Doe defendants deliberately targeted LaVoy Finicum

and a few others, as supposed domestic terrorists – and used this false allegation as a pretext for

an enormous federal government intervention in Burns, Oregon – dramatically escalating the

tensions in the community and the risk to all involved, including to LaVoy Fincium.

   115.        Worse, prior to January 26, 2016, Defendants Bretzing, Brown, Wyden, Ward,

Grasty and other John Doe defendants knew that the threat assessments and threat related

information about LaVoy Finicum and others – was false and misleading, but encouraged other

law enforcement agents and officers, and other elected officials to believe it, and act upon it

anyway.

   116.        Additionally, Defendant Bretzing and other John Doe defendants directly

encouraged the adoption of the use of force, rather than the appropriate and civil legal remedies

for resisting and removing adverse possession claimants, as a deliberate effort to continue the

conspiracy, misconduct, aims and objectives of Defendant Love and other John Doe defendants

in the BLM and FBI, as identified above.

   117.        Defendant Bretzing and other DOJ personnel (including John Doe defendants)

also knew that they were furthering the agenda of the rogue faction of government agents that

had been operating under and/or in concert with Defendant Love – and were specifically

targeting Bundy Family members, LaVoy Finicum, and others in Oregon who had also been

participants in Bunkerville back in 2014.



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    118.         Defendant Bretzing also used his position and authority to continue what Agent

Wooten uncovered as a “don’t ask, don’t tell” mentality and approach – that sought to continue

disseminating the false media and PR narrative about Cliven Bundy and his supporters, and this

continued as the United States and the State of Oregon deliberately and knowingly

mischaracterized the nature of the Refuge occupation and the aims and objectives of LaVoy

Finicum, Ammon Bundy, and other protesters associated with them.

    119.         Specifically, Defendant Katherine Brown (Governor of Oregon) directly

communicated with staff members that they were to work with other John Doe defendants to

control the public narrative, and she further prioritized the use of force, and she did this by

ignoring readily available legal advice that the Refuge occupation by itself was not an illegal

activity.

    120.         Defendant Bretzing, who was also closely associated with Defendant Love,

continued to use and advance the false “talking points” used by the DOJ in Bunkerville, to

describe what was happening in Oregon, especially as he and other agents under his command

(including John Doe defendants) briefed individuals like Chad Karges, the Refuge manager – to

advance the false and extremely misleading narrative that LaVoy Finicum, the Bundy’s and other

protestors presented a severe threat to all federal government employees.

    121.         As such, Defendant Bretzing, deliberately continued the politically biased, anti-

Mormon, anti-Bundy, “punitive and ego driven” agenda of Defendant Love – who had openly

admitted that it was his goal to exact violence against Cliven Bundy and his supporters. Further,

defendant Bretzing directed those under his command and influence, including other John Doe

defendants, to continue Defendant’s Love’s agenda, knowing of Defendant Love’s misconduct,

and knowing that Defendant Love had bragged about keeping a “Kill Book” where he claimed



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responsibility for a growing number of individuals who had died as a result of his leadership in

BLM activities.

    122.        From January 2 through January 26, 2016, neither LaVoy Finicum nor Ammon

Bundy, nor anyone else occupying the Refuge received any eviction or ejectment notice, trespass

complaint or any other formal demand by any local, state or federal authority claiming

ownership of the Refuge grounds being claimed by the occupiers.

    123.        Further, what came to light in the 2016 federal criminal trial of Ammon Bundy is

that Defendant Ward, the FBI and the BLM all now admit that there was no arrest warrant issued

for LaVoy Finicum, Ammon Bundy or any other leader of the Refuge occupation, there was no

notice given to them that they were breaking state or federal law, and all this took place while

local, state and federal law enforcement were in regular telephone and face-to-face contact with

Ammon Bundy, LaVoy Finicum, Ryan Bundy and other occupiers.

    124.        Further, as of January 26, 2016 there was no criminal complaint, no probable

cause affidavit, no federal indictments or any other formal proceeding to inform – let alone argue

– that LaVoy Finicum or any other occupier was being accused of breaking the law. Yet, as early

as the first week in January 2016, FBI agents were targeting LaVoy Finicum, showing his picture

to local Burns, Oregon area residents, and identifying him as a “leader” and as a threat, to local

and state law enforcement, and to residents of Burns, Oregon, with the false and misleading

information described above.5



5
  Contrary to the public narrative, Defendant Ward met with Ammon Bundy and Ryan Payne on
January 7, 2016, several days after the occupation. Defendant Ward acknowledged that he could
see positive things developing as a result of the occupation. He also admitted that the protest had
successfully gained the attention of congressmen, senators, governors and that the people of
Harney County had told him they were excited to see their issues getting attention. Finally,
Defendant Ward acknowledged that no law was being broken, and expressly informed the
occupiers that he agreed no one had been hurt and the only thing that had happened is that “some

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                   STATEMENT OF COMMON FACTS - EXECUTION

   125.        On January 26, 2016, Ammon Bundy, Ryan Bundy, LaVoy Finicum and a few

other Refuge occupiers had been invited by citizens of Grant County, Oregon (situated just north

of Burns, Oregon and Harney County, OR) to give a public presentation on land rights, the

Refuge occupation, etc. Grant County Sherriff Glenn E. Palmer had previously met with the

occupiers and had publically called them patriots. He had announced that he also intended to be

at the public gathering that evening.

   126.        Late in the afternoon, LaVoy Finicum left the Refuge driving his personal pick-

up, and carrying passengers Ryan Bundy, Shawna Cox, Ryan Payne and Victoria Sharp. At the

same time, a separate vehicle driven by a government informant Mark McConnell, traveled

behind LaVoy, carrying passengers Ammon Bundy, Brian Cavalier on the way to the city of

John Day, in Grant County, OR.

   127.        Unknown to LaVoy Finicum, the FBI, Oregon State Police, and other law

enforcement entities and individual personnel, had been informed in advance of the plans for the

event in Grant County, and had arranged a planned ambush in the isolated mountain area

between Burns, OR and John Day, OR.

   128.        The United States and the State of Oregon, through its law enforcement divisions

and personnel, planned and executed a two-stage operation. As the two vehicles traveled on U.S.




buildings have been occupied.” Defendant Ward also admitted he was comfortable meeting with
and talking with the occupiers, and that he had “always” felt that way since they arrived in
Harney County. Finally, Defendant Ward informed the occupiers that their actions were still “on
a positive note” and that he is certain that the voices of his citizens were now going to be heard.
All this belies the false narrative and false talking points that Defendant Ward and the other
defendants described above – purposefully advanced to accomplish the aims and objectives of
Defendant Love and Defendant Bretzing and other John Doe defendants who were intentionally
planning harm and violence to the Bundys, to LaVoy and to others involved with Bunkerville.

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Route 395 in Harney County, in an area strategically planned by Defendants Bretzing, Brown,

Ward, FBI, BLM, and the Oregon State Police, unmarked dark SUV vehicles were used by these

defendants and other John Doe defendants, to stop and pull over the two vehicles in what the

government has called a “high risk” felony traffic stop.

    129.        However, at the time of the “traffic stop”, which was accompanied by the use of

federal air surveillance, among other extreme accoutrements of arrest, there was still no arrest

warrant, sworn affidavit or probable cause statement, criminal complaint or indictment against

LaVoy Finicum, or any of the passengers in these vehicles.

    130.        In fact, FBI and OSP agents involved in the operation admitted during the

criminal trial of Ammon Bundy (and others) in 2016, that they had been told conflicting reasons

and legal grounds for the stop, and that at the time of the stop they could not have identified the

specific legal basis for the arrest.

    131.        In fact, the operation was relying upon representations and assurances from

Defendants Bretzing, Brown, Wyden and other John Doe defendants – who were deliberately

advancing what the government has now uncovered was the deliberate scheme of a rogue faction

of government agents to inflict violence upon Cliven Bundy, his family, and his supporters –

including particularly “Mormons” and those who were speaking publically against the BLM.

    132.        Further, Defendants Bretzing, Brown and Ward all knew that Grant County

Sherriff Glenn Palmer had refused to participate in the illegal misconduct, recklessness,

constitutional violations and conspiracy. They knew this because they had originally been told by

their strategic planners that a stretch of road in Grant County would have been a more suitable

place for the traffic stop, but under directions and/or input from Defendants Brown and Bretzing

and other John Doe defendants the location was moved into Defendant Ward’s county – to avoid



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Sherriff Palmer.

   133.        The FBI and OSP have now admitted that the leaders of the operation

intentionally moved the operation to avoid Sherriff Palmer and to rely instead on Defendant

Ward’s and Defendant Grasty’s support.

   134.        This move was strategic and significant because in Bunkerville, in 2014, this

same agenda and several of these same defendants had been thwarted in their plans by the local

Sherriff, as described above. Just like LaVoy Finicum had learned, these defendants knew that

bona-fide and unbiased law enforcement would de-escalate and prevent the use of force that had

been pre-planned.

   135.        Not only had the government (through the FBI, OSP and other defendants

described above) planned the speculated “high risk” traffic stop and warrantless arrest, it had set-

up a second stage of the operation with a Deadman’s roadblock, were the U.S. Route 395 was

completely blocked, heavily armed agents (including Defendant W. Joseph Astarita and other

John Doe defendants) were strategically positioned behind the roadblock, and some were placed

as surreptitious snipers hiding in the trees alongside the road.

   136.        In setting up the stop and roadblock in this manner, the FBI, OSP, Defendants

Brown, Bretzing and others, intentionally set-up an ambush – designed to inflict violence,

through the use of lethal force, in furtherance of the corrupt aims, objectives and misconduct

described above, and also in furtherance of the conspiracy described herein.

   137.        The second vehicle with McConnell, Ammon Bundy and Brian Cavalier was

pulled over and the occupants arrested. The lead vehicle, LaVoy’s truck, was also pulled over.

   138.        Shortly after LaVoy stopped his truck, the FBI and/or OSP fired upon the truck.

The firing was entirely unprovoked. After this, Ryan Payne exited the vehicle and was arrested.



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   139.        LaVoy and Ryan Bundy began yelling out the window, communicating with the

FBI and OSP and other defendants named above, including John Doe defendants. During this

communication LaVoy was never informed that there was a roadblock ahead. However, during

the communication LaVoy repeatedly and clearly told the men pointing weapons at him that he

was going to continue travelling until he could get to Grant County and meet Sherriff Palmer.

LaVoy invited those who had stopped him to follow him to Grant County and to discuss any

issues they had with Sherriff Ward.

   140.        Without explanation, OSP and the FBI demanded that LaVoy and the passengers

in the truck surrender. It was unclear to LaVoy, for a large portion of the time, who the officers

were that had pulled him over. After the officers claimed to be from the OSP, LaVoy explained

that he was not going to surrender, and that instead he was going to continue traveling to Grant

County, to meet with Sherriff Ward.

   141.        At this point in time, there was no credible information possessed by law

enforcement that LaVoy Finicum posed a significant threat to any person or to any property.

   142.        At this point in time, there was no credible information that justified the use of

lethal force against LaVoy or any of the occupants of the vehicle he was driving.

   143.        Nevertheless, LaVoy knew that at this point he had been pulled over by unmarked

vehicles, by heavily armed men claiming to be legitimate law enforcement, but who had also

fired upon him and his truck, completely unprovoked.

   144.        At some point during the “traffic stop” both Shawna Cox and Ryan Bundy began

using their phones to record as much of the encounter as possible. Those recordings are in the

possession of the OSP, the FBI and other government officials. They are also widely available on

public social media sites like YouTube and Facebook.



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   145.        Approximately seven minutes into the “traffic stop” LaVoy drove away. About a

mile later (while being pursued by the OSP, the FBI and other defendants and John Doe

defendants), LaVoy rounded a bend in the road and encountered a roadblock.

   146.        The roadblock had been strategically placed so as to prevent it from being visible

until impact was a near certainty for any vehicle traveling at posted speeds.

   147.        Again unprovoked, Defendant Astarita, OSP and/or FBI and other defendants and

John Doe defendants fired lethal rounds at the truck.

   148.        Video produced by government surveillance, and subsequently distributed to the

public, shows that upon first seeing the roadblock LaVoy immediately braked, and repeatedly

attempted to slow his vehicle.

   149.        LaVoy was physically unable to avoid the Deadman’s roadblock and ambush, but

successfully and intentionally steered off the road to avoid hitting the road block, and also

avoided hitting any law enforcement personnel – including the law enforcement personnel who

deliberately jumped in front of his truck.

   150.        The OSP, the FBI, Defendant Astarita, other defendants and certain John Doe

defendants clearly had the element of surprise, and had designed the roadblock and participated

therein, knowing and taking advantage of the element of surprise.

   151.        Nevertheless, OSP and the FBI, as well as several John Doe defendants, fired

multiple lethal rounds at and into the truck as it approached the roadblock even though it was

visibly maneuvering to avoid collision.

   152.        In fact, after the truck had come to a complete stop on the side of the road, in deep

snow, buried deep and obviously immobile - OSP and the FBI, as well Defendant Astarita and

other John Doe defendants fired additional lethal rounds at LaVoy and into the truck.



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    153.          Almost immediately upon impact in the snow, LaVoy intentionally exited the

vehicle in an apparent attempt to draw away fire, vocally expressing that he realized he was

being targeted for assassination.

    154.          As LaVoy exited the driver side door, with his hands in the air, OSP and/or FBI

agents (including John Doe defendants) fired at LaVoy, entirely unprovoked and without lawful

justification.

    155.          Again, with the element of surprise, OSP and FBI continued to fire a barrage of

lethal and non-lethal rounds at LaVoy and the truck, and the surreptitiously placed and heavily

armed officers in the trees began to make themselves visible.

    156.          As LaVoy turned from the officers in the trees, he was shot from behind, in the

back, three times with lethal rounds. These shots came from OSP and/or FBI officers (including

John Doe defendants).

    157.          No threats or indications of threats came from the passengers in the truck, yet FBI

and BLM officers and other John Doe defendants continued to fire upon the truck for almost ten

minutes.

    158.          During the shooting period, passenger Ryan Bundy was also shot in the arm with

a lethal round.

    159.          No government agent attended to LaVoy or attempted to administer aid or relief

for at least 10 minutes. LaVoy died, on the ground, in the snow. Defendants further left LaVoy

dead in the snow for several hours, and upon information and belief, into the next day.

    160.          Autopsy confirmed that LaVoy was murdered, the cause of death: homicide. All

wounds were specified as gunshot entry from the back (posterior left shoulder, left upper back

and right lower back.)



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    161.        Investigators with the Deschutes County Sheriff's Office, assigned to process the

scene of the shooting, were accounting for the known sets of shots fired by the OSP officers

during the event (the shots that apparently killed LaVoy) and other shots that struck his vehicle)

when they discovered a bullet that struck the roof of the truck at a different trajectory.

    162.        After ascertaining the bullet's existence with cell phone video taken by either

Shawna Cox or Ryan Bundy, investigators modeled the bullet's trajectory using computers, and

determined that the bullet was fired from the direction where two FBI agents had been standing.

    163.        Investigators later determined that a FBI Hostage Rescue Team member fired

twice at LaVoy, missing and likely the cause of the injury to Ryan Bundy. At least one agent

whose identity was withheld, but who is named herein as a John Doe defendant, was under

investigation, along with four other FBI agents who were suspected of attempting to conceal

evidence of the gunshots.

    164.        FBI Agents, including John Doe defendants named herein, all told investigators

that none of them fired a shot during the incident. However, as with the post-Bunkerville

investigation this turned out to be part of a scheme of lies. FBI Agents, including John Doe

defendants purposefully and intentionally hid evidence and interfered with investigator’s ability

to find the truth.

    165.        A federal grand jury has now charged, and it is here alleged independently, that

Defendant W. Joseph Astarita, who was a Special Agent of the FBI and other defendants named

herein, lied and covered-up up activities and events that took place at the side of U.S. Route 395

in Harney County, Oregon on January 26, 2016.

    166.        Specifically, Defendant Astarita made knowingly false statements to investigators

and he did so knowing that his false statements were material to the FBI's decision not to call the



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Shooting Incident Response team to investigate the propriety of the shooting of LaVoy Finicum.

    167.        Defendant Astarita falsely stated that he had not fired his weapon at LaVoy

Finicum, and other John Doe defendants joined, supported, aided and conspired to further the lie

and misinformation. Defendant Astarita and these defendants knew then and there that

Defendant Astarita had fired his weapon.

    168.        Also, during initial processing of the scene, the rifle cartridge casings fired by at

least one FBI agent was reported not present. However, an OSP officer later described seeing

two casings at the scene near where the FBI agents were positioned. FBI aerial surveillance

video shows agents searching the area, then huddling together before breaking up moments later,

with one agent bending over twice to pick up an unknown object.

    169.        On May 12, 2016, more than a dozen Arizona elected officials and prior elected

officials wrote a letter to Defendant Brown, and asked her and the State of Oregon to conduct a

more transparent and thorough investigation into the roadside execution of LaVoy Finicum on

January 26, 2016. Defendant has refused.

    170.        After the acquittal of Ammon Bundy, Ryan Bundy, Ryan Payne, Shawna Cox,

Neil Wampler, Jeff Banta and David Fry, in October 2016 in the federal district court, District of

Oregon, several similar requests were made to Defendant Brown, the FBI and the BLM, by

elected officials, public organizations and private attorneys. To date, all have refused or have

failed to make the date and information and conclusions from such investigations known to

Plaintiffs.


                                FIRST CAUSE OF ACTION
                          (Wrongful Death – Federal Tort Claims Act)
                            (Against The United States of America)

    171.        Plaintiffs re-allege all preceding and subsequent paragraphs here, both as if fully


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set forth here.

    172.          Defendant UNITED STATES is liable to Plaintiffs because officers, agents, and

employees of the FBI, employees of the BLM, and other employees, agents or officers of the

United States, along with others, caused LaVoy Finicum’s wrongful death by the acts and

omissions described above.

    173.          At all material times hereto, the agents of the United States worked within the

scope of their employment.

    174.          Defendants Love, Bretzing, Lauro, Reid, Astarita, Wyden and other John Doe

defendants, acted jointly, violated both the Fourth and Fifth Amendment resulting in the death of

LaVoy Finicum.

    175.          None of these defendants intervened to prevent the wrongful acts described

herein, though able. These wrongful acts, individually and combined, were sufficient legal cause

of the wrongful death of LaVoy Finicum to create liability for the UNITED STATES and to

justify this cause of action.

    176.          The UNITED STATES, if a private person, would be liable to Plaintiffs for the

acts and omissions of its employees, officers, and agents under the law of the place where said

acts and omissions occurred, to wit, under common law tort claims for wrongful death, negligent

hiring, supervision and retention of agents and employees.

    177.          These defendants knew the Defendant Love, Defendant Bretzing and other John

Doe defendants were unfit to serve as sworn law enforcement officers when hired and when

assigned to the cases and matters described and relevant herein and failed to terminate him until

after the tragic shooting death of LaVoy Finicum, which death Defendants caused.

    178.          The wrongful acts and omission of the Defendant UNITED STATES caused



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injury and death to the Decedent and harm to his estate and survivors.

   179.        As a direct and foreseeable result of the respective negligent and careless acts and

omissions of Defendants, Decedent LaVoy Finicum suffered injury and death.

   180.        As a direct and foreseeable result of the respective intentional wrongful acts of

Defendants, Decedent suffered injury and death.

   181.        Decedent left Plaintiffs as lawful survivors under relevant law.

   182.        Decedent’s survivors, Plaintiffs herein, suffered emotional and economic damages

as a result of his death, at the time, now and into the future.

   183.        Decedent LaVoy Finicum suffered wrongful death by virtue of Defendant

UNITED STATE’s actions, practices and policies in this regard. Decedent’s survivors and

Plaintiffs herein, sustained and continue to sustain damages for lost companionship, support and

for mental pain and suffering.

   184.        Plaintiff Jeanette Finicum also seeks damages as the Personal Representative of

Descendent LaVoy Finicum’s estate for past and future medical and funeral expenses and lost

earnings and lost value to his assets and estate.

   185.        Plaintiffs timely submitted an administrative claim to the FBI and to the United

States Department of Justice.

   186.        The UNITED STATES failed to make a final disposition of the claims within six

months and the claimants have elected to deem them denied.

   WHEREFORE, Plaintiffs seek compensatory and punitive damages and costs against

   Defendant UNITED STATES, and such other relief as justice may require.


                                SECOND CAUSE OF ACTION
                        (Bivens Action – Fourth and Fifth Amendment)
                       (Against all Federal Agents, Employees, Officers)


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    187.           Plaintiffs re-allege all preceding and subsequent paragraphs here, both as if fully

set forth here.

    188.          Plaintiffs are entitled to relief against all defendants named herein who are federal

agents, employees or officers, because they individually and together violated LaVoy Finicum’s

Fifth Amendment Due Process rights (e.g. false statements, conspiracy, misconduct, labeling as

domestic terrorist, false attribution of threats, etc.) and Fourth Amendment rights (e.g. excessive

and Unlawful and Unnecessary Force, etc.).

    189.          These defendants used deadly force against LaVoy Finicum without justification

and without any threat of serious harm to any person.

    190.          The conduct of these defendants described herein, and their related and linked use

of unjustified deadly force constituted a battery on Mr. Finicum, which conduct led to his

wrongful death under Oregon law.

    191.          As a result of the wrongful acts of these defendants, the estate and survivors of

LaVoy Finicum have suffered harm as described above.

    WHEREFORE, Plaintiffs seek damages as noted below.


                                THIRD CAUSE OF ACTION
                             (42 U.S.C. § 1983 – Excessive Force)
              (Against the Individual Defendants, In Their Individual Capacity)


    192.           Plaintiffs re-allege all preceding and subsequent paragraphs here, both as if fully

set forth here.

    193.          Plaintiff is entitled to relief against all of the individual defendants named in this

suit, because they violated state and constitutional law causing LaVoy Finicum’s death.

    194.          All of the individual defendants (excluding The Center for Biological Diversity)

acted under color of law or lawful authority and power.

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    195.          These defendants acted jointly and collectively with each other in the wrongful

acts leading to the death of LaVoy Finicum.

    196.          Each of these defendants failed to intervene to prevent abuse, though able.

    197.          As a result of the wrongful acts of these defendants, the estate and survivors of

LaVoy Finicum suffered harm as described above.

    198.          Plaintiffs also suffered the cost of legal services.

    WHEREFORE, Plaintiffs seek relief as noted below.


                               FOURTH CAUSE OF ACTION
                               (42 U.S.C. § 1983 – Deprivation)
              (Against the Individual Defendants, In Their Individual Capacity)


    199.           Plaintiffs re-allege all preceding and subsequent paragraphs here, both as if fully

set forth here.

    200.          In doing the foregoing wrongful acts, Defendants and each of them, acted in

reckless and callous disregard of the constitutional rights of LaVoy Finicum. The wrongful acts,

and each of them, were willful, oppressive, fraudulent, and malicious, thus warranting the award

of punitive damages against each individual defendant in an amount adequate to punish the

wrongdoers and independently to deter future misconduct.

    201.          Additionally, Defendants, acting under color of state and federal law (excluding

The Center for Biological Diversity), deprived Plaintiffs of their right to a familial relationship

without due process of law by their sue of unjustified and fatal force against LaVoy Finicum

with the deliberate intent to cause LaVoy Finicum harm so that he could not and would not

return to his family in his home state of Arizona, in violation of rights, privileges, and

immunities secured by the First and Fourteenth amendments to the United States Constitution.

    202.          As a result of the foregoing wrongful acts of Defendants, and each of them,

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Plaintiffs sustained general damages, including grief, emotional distress, pain and suffering, loss

of comfort and society, and special damages, including loss of support, in and amount according

to proof.

    203.          As further damage, Plaintiffs have incurred and will continue to incur attorney’s

fees, and pursuant to 42 U.S.C. ¶ 1988, are entitled to recovery of costs and fees in pursuing

rights for a violation of 42 U.S.C. § 1983.


                                     FIFTH CAUSE OF ACTION
                                      (42 U.S.C. § 1983 – Monell)
                                       (Against All Defendants)


    204.           Plaintiffs re-allege all preceding and subsequent paragraphs here, both as if fully

set forth here.

    205.          Plaintiffs bring this claim for relief in their capacity as the successors-in-interest

and personal representative of the decedent.

    206.          Defendants, and each of them, knowingly and with gross negligence, maintain

permit and ratify policies and customs which allow the occurrence of the types of wrongs set

forth herein above, all in deliberate indifference to the constitutional rights of citizens.

    207.          The FBI, the BLM, the State of Oregon, the OSP, Harney County, Lauro and

other individuals and entities continued the employment and/or association with the Defendants,

and allowed little to no supervision of these officers, agents or employees, in spite of the fact that

these Defendants had prior complaints for misconduct. Defendant Love and other John Doe

defendants were known to be engaged in a pattern of rampant corruption and misconduct, and

the government’s own internal investigations reached this same conclusion. These defendants

and those aligned with and assisting them, participated in the corruption described above, which

all led to the death of LaVoy Finicum.

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   208.          The widespread corruption and misconduct described and otherwise identified

herein, included illegal targeting, religious bias and persecution, mishandling and destroying

evidence, pursuing vendettas and purposefully using government resources to harm and inflict

unnecessary violence, and other egregious forms of wrongdoing – which allowed and even

assisted Defendants in violating state and federal law, and specifically the Fourth and Fifth

Amendment, resulting in the shooting death of LaVoy Finicum.

   209.          Defendants’ deliberate indifference in the training of its law enforcement officers

and other agents, related to the use of reasonable force and lawful seizures, as well as the

deliberate indifference by the relevant government hierarchy to the safety of citizens or the

adherence to the Constitution’s protection of individual rights, are the moving force behind the

misconduct engaged in by Defendants. The widespread corruption and misconduct are all

factors leading to the shooting death of LaVoy Finicum.

   210.          Further the ratification of misconduct by Defendants, along with the failure to

conduct adequate investigations of misconduct led to the violations of Plaintiffs’ and Mr.

Finicum’s constitutional rights.

   211.          Based upon the principles set forth in Monell v. New York City Dept. of Social

Services, the FBI, the BLM, the State of Oregon, the OSP, and Harney County are liable for all

the injuries sustained by Plaintiffs as set forth above.

   212.          Due to the conduct of Defendants, and each of them, Plaintiffs have incurred and

will continue to incur attorneys’ fees, and are entitled to recovery of said fees pursuant to 42

U.S.C. § 1988.




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                                    SIXTH CAUSE OF ACTION
                                           (Conspiracy)
                                      (Against All Defendants)


    213.          Plaintiffs re-allege all preceding and subsequent paragraphs here, both as if fully

set forth here.

    214.          Plaintiffs are entitled to relief against all Defendants because they conspired with

each other and together, to cause LaVoy Finicum’s harm and ultimate death under Bivens, 42

U.S.C. 1983, color of state law, and relevant state common law and statutory authority.

    215.          Defendants acted strategically to perpetrate and then cover up their wrong doing.

    216.          Defendants knew of the wrongdoing, and each and all of them failed to intervene

to prevent harm to LaVoy Finicum, though able.

    217.          As a result of this conduct, Plaintiffs have suffered harm as noted above, and are

entitled to damages and attorney fees as also noted above.


                                    Seventh CAUSE OF ACTION
                                            (Negligence)
                                      (Against All Defendants)


    218.           Plaintiffs re-allege all preceding and subsequent paragraphs here, both as if fully

set forth here.

    219.          Defendants and each of them owed a duty to the public to properly train and

supervise the officers, employees and agents under their control and influence. They failed to do

so. This led to the untimely and unwarranted death of LaVoy Finicum.

    220.          Defendants also owed a duty to LaVoy Finicum, to conduct themselves

reasonably and safely so as not to harm him in the circumstances that occurred.

    221.          Defendants are liable or their neglect pursuant to Oregon State law.


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    222.         Plaintiffs filed timely claims pursuant to Oregon State law.

    223.         Plaintiffs are parties with proper standing pursuant to Oregon State law.

    224.         Plaintiffs are entitled to pursue and obtain the remedies prayed for herein,

including for each of them, pecuniary loss and other compensable injuries resulting from the loss

of the society, comfort attention services and support of the decedent LaVoy Finicum.

    225.         The loss of LaVoy Finicum will continue to cause great and severe damages to

Plaintiffs, all in an amount according to proof.

    226.         As a further and direct result of the acts, omissions, negligent conduct, and/or

reckless disregard for the safety of LaVoy, by Defendants, and each of them, Plaintiffs have

incurred funeral and burial expenses, medical expenses and other incidental costs and expenses

in an amount according to proof.


                                EIGHTH CAUSE OF ACTION
                             (Assault and Battery – Common Law)
                          (Against State of Oregon and Harney County)

    227.         Plaintiffs re-allege all preceding and subsequent paragraphs here, both as if fully

set forth.

    228.         Defendants engaged in intentional attempts to do violence against LaVoy

Finicum, coupled with the present ability to carry the intentions into effect.

    229.         Defendants engaged in voluntary acts that caused intentional harm and contact

with LaVoy Finicum, including shooting him three times in the back.

    230.         As a direct, proximate and foreseeable result of these actions, LaVoy suffered

deprivation of his constitutional rights, injury, harm, pain and suffering, and compensable

economic loss.




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                                          JURY DEMAND

   231.         Plaintiffs demand a trial by jury on all claims so triable.


                                        PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for judgment against Defendants, and each of them, as

follows:

       1. For general damages in an amount according to proof, but no less than $5,000,000 for

             each plaintiff, but as permitted by law;

       2. For special damages in an amount according to proof; as permitted by law,

       3. For punitive damages against the individual officers, in an amount according to proof

             and as permitted by law,

       4. For injunctive relief;

       5. For reasonable attorneys’ fees and costs where applicable;

       6. For costs of suit herein incurred; and

       7. For such other and further relief as the Court may deem just and proper.


       DATED: January 25, 2018

                                               /s/ Lisa Ludwig
                                               Lisa Ludwig, OSB #953387
                                               Attorney for Plaintiffs

                                               /s/ J. Morgan Philpot
                                               J. Morgan Philpot, OSB #144811
                                               Attorney for Plaintiffs




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